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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Judge William J. Martínez

 Criminal Case No. 16-cr-301-WJM

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.     WILLIAM J. SEARS,

        Defendant.


                ORDER DENYING MOTION TO WITHDRAW GUILTY PLEA


        Defendant William J. Sears (“Sears”) pleaded guilty in November 2016 to one

 count of conspiracy to defraud the United States (18 U.S.C. § 371) and one count of

 filing a false income tax return (26 U.S.C. § 7206(1)). (ECF Nos. 41, 48, 84.) His

 sentencing has been postponed pending his opportunity to testify in the Government’s

 case against Guy Jean-Pierre, a co-conspirator who, for procedural reasons not

 relevant here, was charged in a separate criminal action. (See Criminal Case No. 17-

 cr-008-WJM.) Jean-Pierre went to trial before the undersigned in January 2019, and

 Sears testified at the trial, as expected. The Court then set Sears’s sentencing hearing

 for July 11, 2019.

        On May 4, 2019, Sears filed a Motion to Withdraw Plea of Guilty (ECF No. 139),

 which is currently before the Court. The Government filed a response opposing the

 relief sought in the motion (ECF No. 144) and Sears filed a reply (ECF No. 149).

 Having reviewed these materials, and having reviewed the plea agreement (ECF Nos.
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 41–42) and the transcript of the change-of-plea hearing (ECF No. 84), the Court finds

 that Sears has not met the standard for withdrawing a guilty plea. His motion will be

 denied.

                                    I. BACKGROUND

        This prosecution came to the Court essentially as a pre-arranged plea deal. On

 September 15, 2016, Sears and his co-defendant in this case (Scott Dittman) were both

 charged by information with conspiracy to defraud the United States, and Sears alone

 was charged with filing a false income tax return. (ECF No. 1.) That same day, both

 defendants waived the indictment (ECF Nos. 16, 17) and then filed notices of

 disposition the following day (ECF Nos. 3, 5).

        The essence of the Government’s conspiracy charge was that Sears and Dittman

 had worked together to build a business called FusionPharm, but took numerous steps

 to, among other things, conceal Sears’s relationship to the company (given Sears’s prior

 conviction for federal securities fraud), and create free-trading FusionPharm shares

 without truthfully satisfying federal regulatory requirements for such shares. This, the

 Government charged, was a willful evasion of federal securities laws and therefore a

 conspiracy to defraud the United States.

        Sears’s plea agreement details the conspiracy over the course of approximately

 twenty-five pages. (ECF No. 41 at 12–25 & ECF No. 42 at 1–12.) These facts were

 mostly stipulated. Some were augmented by footnotes describing additional facts

 Sears or Dittman, or both, would introduce (if there were a trial, apparently), mostly

 regarding alleged advice of counsel. (See, e.g., ECF No. 41 at 15 n.5, 17 n.8, 22 n.15,

 24 n.18; ECF No. 42 at 6 n.25.) A few facts were disputed, mostly in the sense that



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 Sears or Dittman believed the Government was stating its case too strongly, but none of

 these facts was dispositive to the Government’s case. (See, e.g., ECF No. 41 at 20

 n.13, 22 n.16; ECF No. 42 at 7 nn.26–27, 9 n.31.) As for the tax charge against Sears,

 it is detailed in two pages of unequivocally stipulated facts. (ECF No. 42 at 13–14.)

        Sears’s change-of-plea hearing took place on November 14, 2016. (ECF

 No. 48.) Sears was placed under oath. (ECF No. 84 at 2–3.) The Court then

 confirmed that Sears understood his oath and that false answers could subject him to a

 perjury prosecution. (Id. at 4.) After some inquiries of counsel, the Court turned back to

 Sears and had the following exchange:

               Q. . . . Have you read Court Exhibits 1 and 2?[1]

               A. Yes, I have, Your Honor.

               Q. Have you read them carefully?

               A. Yes, I have, Your Honor.

               Q. Have you discussed these documents with your lawyer?

               A. In detail, sir, yes.

               Q. All right. Has your lawyer answered your questions
                  regarding Exhibits 1 and 2?

               A. Yes, he has.

               Q. When you signed Exhibits 1 and 2, did you do so
                  voluntarily?

               A. Yes, I did, sir.

 (ECF No. 84 at 12–13.) The Court then explained that the facts described in the plea

 agreement are the facts the Government believes it could prove at trial, and continued

        1
         Court Exhibit 1 was the plea agreement and its attachments (ECF Nos. 41–43) and
 Court Exhibit 2 was Sears’s Statement in Advance of Pleading Guilty (ECF No. 44). (See ECF
 No. 84 at 3–4.)


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 its exchange with Sears as follows:

                 Q. . . . So do you agree that the facts that you’ve reviewed
                    at pages 12 through 37 of the plea agreement are true?

                 A. Yes, I do, Your Honor.

                 Q. Is there any inaccuracy in those facts you’d like to correct
                    at this time?

                 A. No, Your Honor.

 (Id. at 13–14.) The Court then asked Sears to “summarize . . . what it is that you did

 with respect to the counts you are pleading guilty to.” (Id. at 14.) Sears responded by

 describing one of the events that, according to the Government, amounted to an

 evasion of federal securities laws:

                 Your Honor, I was involved in the creation of a convertible
                 promissory note that was backdated. In conjunction with
                 that convertible promissory note, I failed to properly disclose
                 my affiliation status which enabled me to have access to free
                 trading securities. I then liquidated those free trading
                 securities into the public markets for a profit and failed to
                 report that profit on my personal income tax, sir.

 (Id.) The Court then turned to the elements of the two crimes to which Sears would

 plead guilty:

                 Q. All right. And did you do so in conspiracy with at least
                    one other person to engage in those acts?

                 A. Indeed, sir.

                 Q. All right. And you knowingly and voluntarily participated
                    in that conspiracy?

                 A. Yes, sir.

                 Q. And you were aware of the objective of that conspiracy?

                 A. Yes, sir.

                 Q. And what was the objective?



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               A. To obtain free trading securities and be able to sell them
                  into the market, sir.

               Q. All right. Both you and your coconspirator [Dittman]
                  acted in a manner for your shared mutual benefit within
                  the scope of the conspiracy charged?

               A. Yes, sir.

               Q. With respect to Count 2 and the statements that you
                  made on your—the false statements, as you’ve just
                  characterized them, on your tax returns, you knew them
                  to be false at the time you made them on the return; is
                  that correct?

               A. Yes, sir.

               Q. And you did so—you made that false statement willfully
                  and with the intent to violate a known legal duty?

               A. Yes, sir.

 (Id. at 14–15.) The Court accordingly accepted Sears’s guilty plea. (Id. at 26.)

                                  II. LEGAL STANDARD

        “A defendant may withdraw a plea of guilty * * * after the court accepts the plea,

 but before it imposes sentence if * * * the defendant can show a fair and just reason for

 requesting the withdrawal.” Fed. R. Crim. P. 11(d)(2)(B). The defendant “has the

 burden of establishing that there is a fair and just reason for allowing withdrawal of his

 guilty plea.” United States v. Gordon, 4 F.3d 1567, 1572 (10th Cir. 1993). The relevant

 factors for the Court to consider are: “(1) whether the defendant has asserted his

 innocence, (2) prejudice to the government, (3) delay in filing defendant’s motion,

 (4) inconvenience to the court, (5) defendant’s assistance of counsel, (6) whether the

 plea is knowing and voluntary, and (7) waste of judicial resources.” Id. But the first,

 fifth, and sixth factors are the most important—if a defendant does not persuade the

 Court that those factors cut in his or her favor, the Court need not examine the


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 remaining factors. United States v. Byrum, 567 F.3d 1255, 1265 (10th Cir. 2009).

                                         III. ANALYSIS

        In light of Sears’s arguments, the Court finds it most effective to first examine

 assertion of innocence (factor 1), followed by voluntariness (factor 6), and finally

 assistance of counsel (factor 5).

 A.     Assertion of Innocence

        Sears pleaded guilty to two crimes: conspiracy to defraud the Government, and

 making a knowingly false statement on a tax return. Sears nowhere asserts his

 innocence on the tax charge. As for conspiracy to defraud the government, his entire

 assertion of innocence is as follows:

               Mr. Sears also asserts his innocence because the essential
               contention by the Government that Mr. Sears was a control
               person of Fusion Pharm, Inc. and that one or more
               companies that he operated was an affiliate of Fusion
               Pharm, Inc. is not factually correct. And, he asserts his
               innocence of the charge of securities fraud, mail fraud, wire
               fraud, or any other fraud involved in the securities and
               financing surrounding Fusion Pharm, Inc.

                                             ***

               At the root of this issue is whether or not Mr. Sears was
               really a control person for Fusion Pharm, and whether Mr.
               Sears’ [other] companies, Meadpoint or Vertifresh[,] where
               [sic] affiliates of Fusion Pharm.

 (ECF No. 139 ¶¶ 24, 29.)

        This argument addresses two specific ways the Government accused Sears of

 conspiring to defraud by evasion of the securities laws: (i) concealing Sears’s role in

 FusionPharm, and (ii) concealing the fact that other companies Sears controlled

 (Meadpoint and Vertifresh), through which he carried out some FusionPharm stock

 transactions, were not actually independent of FusionPharm or acting for their own


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 interests. But that does not address all of the theories under which the Government

 could have proven Sears guilty. Most notably, it does not address the specific theory

 Sears himself described at his change-of-plea hearing, namely, the intentional

 backdating of a promissory note. (See Part I, above.) This backdating made it appear

 that the holding period for restricted shares had been satisfied, which, in part, prompted

 a stock transfer agent to issue free-trading shares that otherwise should not have

 issued. (See ECF No. 41 at 25 & ECF No. 42 at 1 (describing this transaction in more

 detail).)

         Moreover, Sears cannot simply assert that the Government is “factually incorrect”

 (ECF No. 139 ¶ 24) and rest his case. “[T]he assertion of a defendant’s subjective

 belief in his own innocence does not mandate allowing him to withdraw his plea of

 guilty.” United States v. Hickok, 907 F.2d 983, 985 n.2 (10th Cir. 1990) (internal

 quotation marks omitted; certain alterations incorporated). The defendant “must

 affirmatively advance an objectively reasonable argument that he is innocent.” United

 States v. Hamilton, 510 F.3d 1209, 1214 (10th Cir. 2007) (internal quotation marks

 omitted). Sears’s motion nowhere presents such an argument.

         For the first time in his reply brief, Sears elaborates, but only slightly. He asserts

 that he “held a good faith belief that disclosure [of his role in FusionPharm] was not

 required based, in part, on advice given to him by [attorneys].” (ECF No. 149 at 4.) The

 Court could deem this argument forfeited as untimely. See, e.g., United States v.

 Harrell, 642 F.3d 907, 918 (10th Cir. 2011). But it is not enough, regardless. Sears

 nowhere attempts to demonstrate that advice of counsel was a viable defense for him,

 legally or factually. And Sears, again, addresses only one theory by which the



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 Government could have proven him guilty under the conspiracy charge. 2

        Finally, Sears nowhere explains why he admitted the illegality of all of this

 conduct, under oath, at his change-of-plea hearing. The Court finds the Supreme

 Court’s guidance in the habeas context instructive here: “Solemn declarations in open

 court carry a strong presumption of verity. The subsequent presentation of conclusory

 allegations unsupported by specifics is subject to summary dismissal . . . .” Blackledge

 v. Allison, 431 U.S. 63, 74 (1977). Similarly, bare assertions of innocence with no

 support, and no explanation of why the defendant has gone back on his or her sworn

 testimony, are not entitled to consideration when the defendant moves to withdraw a

 guilty plea.

        For all these reasons, the assertion-of-innocence factor does not weigh in

 Sears’s favor.

 B.     Voluntariness of Plea

        “When a criminal defendant has solemnly admitted in open court that he is in fact

 guilty of the offense with which he is charged, he may not thereafter raise independent

 claims relating to the deprivation of constitutional rights that occurred prior to the entry

 of the guilty plea.” Tollett v. Henderson, 411 U.S. 258, 267 (1973). However, the

 defendant may raise potential constitutional deprivations to the extent they affect “the

 voluntary and intelligent character of the guilty plea.” Id. Here, Sears raises what he

 characterizes as violations of the Government’s constitutional duty following Brady v.
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          Sears’s reply brief goes on to deny that he was a de facto officer and director of
 FusionPharm, that FusionPharm intentionally or knowingly misstated its revenues, or that
 FusionPharm issued false press releases. (ECF No. 149 at 4.) He also denies that
 FusionPharm stock transactions via his other company, Meadpoint, were unlawful. (Id.) But
 these more granular denials are still no more than bare denials. Sears nowhere attempts to
 provide an objectively reasonable argument in support of any denial. See Hamilton, 510 F.3d at
 1214.


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 Maryland, 373 U.S. 83 (1963), and Kyles v. Whitley, 514 U.S. 419 (1995), to disclose

 exculpatory evidence to the defense, including evidence known to others acting on the

 Government’s behalf, such as law enforcement officers. (ECF No. 139 ¶¶ 10–14.) 3

        1.     Agent Funk’s CPA Status

        The first alleged Brady violation relates to the Government’s case agent, FBI

 Special Agent Kate Funk. Sears argues that

               Agent Funk claimed in [a search warrant] affidavit [leading to
               a search warrant executed during the investigation of this
               case] to be a certified public accountant and [she] made
               financial opinions throughout the affidavit in her effort to
               assert probable cause. Agent Funk is not and was not a
               certified public accountant.

 (Id. ¶ 18.) This is the extent of the argument in Sears’s motion. He makes the assertion

 and then moves on. Given that Sears provides no reason for the Court to accept his

 rather bold accusation as true, or even potentially true, the Court could disregard it as

 an inadequately developed argument. See, e.g., United States v. Hunter, 739 F.3d 492,

 495 (10th Cir. 2013); United States v. Martinez, 518 F.3d 763, 768 (10th Cir. 2008). In

 the interest of clarifying the record, however, the Court will address it.

        The Government’s response brief notes that Agent Funk’s CPA status is publicly

 displayed on the Kansas Board of Accountancy’s website, 4 which reports that she first

 received her “Certificate” in August 1999, that her “Certificate Status” is “Active,” and

 that she has never had any disciplinary action brought against her. (ECF No. 144 at 4–

 5.) The Government further argues that an individual with a Kansas CPA certificate
        3
          Sears directs these accusations at former AUSA Kenneth Harmon only, who departed
 the U.S. Attorney’s Office in the middle of the prosecution. (Id. ¶ 15.) Sears does not accuse
 AUSA Jeremy Seibert, who substituted for Mr. Harmon as lead prosecutor.
        4
        See http://oitsapps.ks.gov/boa/IndividualLicenseeInformation.aspx?ID=105540667&
 lastName=Funk (last visited May 21, 2019).


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 may use “CPA” as a credential after his or her name if the individual is working in an

 industry that is not related to the practice of public accountancy. (Id. (citing Kan. Stat.

 Ann. § 1-321).) In reply, Sears says (for the first time) that he has “consulted with [a

 particular] lawyer and CPA in Colorado, who is prepared to testify that Ms. Funk violated

 the accountancy laws in Colorado and Kansas when she claimed a CPA designation.”

 (ECF No. 149 at 3.) Sears then attaches a print-out from the “frequently asked

 questions” portion of the Kansas Board of Accountancy’s website, which explains that

 an individual with a Kansas CPA certificate

               may use the CPA as a credential only. (In other words, CPA
               may appear after a person[’]s name if they are working in an
               industry that is not related to the practice of public
               accountancy.) CAUTION: Financial Planning, litigation
               support, broker/dealer services, investment advisory,
               consulting, management advisory and business
               valuation services, ALL fall under the definition of non-
               attest practice, and in order to use the CPA designation
               in connection with these services, a person must also
               hold a valid Kansas permit to practice. The CPA
               Certificate allows a person to use the designation as a
               credential, not hold out or sign reports for the public as a
               CPA.

 (ECF No. 149-1 at 6 (boldface in original).) Sears highlights the words “litigation

 support.” (See id.)

        Before evaluating the significance of Sears’s discovery about Agent Funk, the

 Court notes that Agent Funk is a certified public accountant—the only questions are the

 contexts in, and purposes for which, she may represent herself as such, under Kansas

 law. It was therefore rather reckless of Sears’s counsel to state, without qualification,

 “Agent Funk is not and was not a certified public accountant.” (ECF No. 139 ¶ 18.)

        Leaving that aside, the question is whether the Government’s failure to disclose

 the precise nature of Agent Funk’s CPA status is a Brady violation. Sears believes that

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 this information should have been used to challenge the search warrant obtained via

 Agent Funk’s affidavit. (Id. ¶¶ 16–19; ECF No. 149 at 3.) The Court will mostly address

 the question of whether the search warrant could have been challenged in Part III.C,

 below, when the Court turns to the assistance-of-counsel factor. For present purposes,

 it suffices to point out that information suggesting that the magistrate judge should not

 have given as much credit to Agent Funk’s representations in the search warrant seems

 to suggest, instead of a Brady violation, a potential violation of Franks v. Delaware, 438

 U.S. 154 (1978), which holds that a law enforcement officer violates a suspect’s

 constitutional rights if he or she knowingly offers material misstatements to secure a

 warrant, and United States v. Merton, 274 F. Supp. 2d 1156 (D. Colo. 2003), which

 extends Franks to material omissions.

        Regardless, there is no Brady violation under the circumstances of this case

 because the allegedly withheld information is not exculpatory. How and when Agent

 Funk may call herself a CPA under Kansas law has nothing to do with whether Sears

 committed the crimes with which he was accused. The evidence is, at best,

 impeachment evidence, and “the Constitution does not require the Government to

 disclose material impeachment evidence prior to entering a plea agreement with a

 criminal defendant.” United States v. Ruiz, 536 U.S. 622, 633 (2002). As a matter of

 law, then, Sears’s lack of knowledge about Agent Funk’s status as a CPA “certificate”

 holder only, and not as a fully licensed-to-practice CPA, did not render his guilty plea

 involuntary. 5


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          There is also an interesting question of whether Agent Funk’s representation of her
 CPA qualifications in a sealed search warrant affidavit submitted to a federal magistrate judge
 can ever be deemed “hold[ing oneself] out or sign[ing] reports for the public as a CPA,” and
 therefore requiring additional qualifications under Kansas law. (ECF No. 149-1 at 6.) But in

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        2.      AUSA Harmon’s Relationship to Mr. Lehrer

        The second alleged Brady violation requires slightly more background. Part of

 Sears’s and Dittman’s scheme to obtain free-trading shares was to obtain “Rule 144

 opinion letters” from attorneys who would attest that the requirements in the SEC’s Rule

 144 had been met to remove a restrictive legend from a stock certificate. Sears and

 Dittman obtained many of these letters from Jean-Pierre. 6 But Sears and Dittman later

 turned to Fred Lehrer, who also provided opinion letters. Sears alleges a Brady

 violation flowing from the failure to disclose the relationship between former AUSA

 Harmon (see n.3, above) and Mr. Lehrer:

                In this case, the [former] prosecutor, Kenneth Harmon, did
                not reveal exculpatory evidence regarding his relationship
                with the attorney hired by Fusion Pharm, Inc. to assist it in its
                securities filings. Frederick M. Lehrer is the lawyer hired by
                Fusion Pharm after the services of Guy Jean-Pierre were
                terminated.

                Mr. Lehr[er] rendered far more legal opinions in support of
                Fusion Pharm’s activities than those issued by Mr. Jean-
                Pierre. It would be anticipated that Mr. Lehrer would be a
                favorable witness for the defense. However, it turns out that
                Mr. Harmon and Mr. Lehrer worked together in a task force
                in Miami prior to Mr. Harmon accepting an Assistant United
                States Attorney position in Colorado. The two of them are
                not only colleagues, but friends.

                Effort has been made by the prosecution to minimize and
                hide Lehrer’s role in this case. Lehrer turned against his
                clients, and, in fact, testified falsely in proceedings before the
                Securities and Exchange Commission, with respect to his
                knowledge and activity with Fusion Pharm. Exculpatory
                evidence in this regard was withheld from Mr. Sears.


 light of the disposition above, the Court need not reach this question.
        6
          The jury in the January 2019 trial was persuaded that Jean-Pierre’s attestations in
 these letters were knowingly false, and therefore convicted him on counts of conspiracy, mail
 fraud, wire fraud, and aiding and abetting Sears’s and Dittman’s fraud.


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 (ECF No. 139 ¶¶ 25–27.) This argument is very difficult to connect to a Brady

 violation—or any other constitutional violation—but the Court can say at least the

 following.

        First, Sears’s reply brief makes clear that, among all the factual assertions

 above, the only thing about Mr. Lehrer that Sears did not know at the time of his

 decision to accept a plea deal was Mr. Lehrer’s relationship with Mr. Harmon. (ECF No.

 149 at 2.) Sears knew beforehand that Mr. Lehrer was not being prosecuted, that

 Mr. Harmon had no intent to prosecute Mr. Lehrer, and that Mr. Lehrer had offered

 testimony in an SEC proceeding that Sears considered false. So the Brady evidence, if

 there is any, must be the relationship between Mr. Lehrer and Mr. Harmon.

        Second, Sears nowhere explains how this relationship is exculpatory. As best

 the Court can tell—and Sears himself does not make this connection—it would have

 been impeachment evidence had Mr. Lehrer testified in a trial and, for example,

 disavowed Sears’s (apparent) claim that he received good-faith advice from Mr. Lehrer

 about the legality of the FusionPharm stock transactions. Knowledge that Mr. Lehrer

 and Mr. Harmon are friends, and that Mr. Lehrer was not being prosecuted, 7 might give

 the jury reason to suspect that Mr. Harmon was allowing Mr. Lehrer to say whatever he

        7
          The fact that Mr. Lehrer was not being prosecuted—for whatever reason—likely could
 not have been considered by the jury for anything more than its impeachment value. The Court
 routinely gives Tenth Circuit Criminal Pattern Jury Instruction No. 1.19, which reads in relevant
 part as follows:

                It is not up to you to decide whether anyone who is not on trial in
                this case should be prosecuted for the crime charged. The fact
                that another person also may be guilty is no defense to a criminal
                charge.

                The question of the possible guilt of others should not enter your
                thinking as you decide whether this defendant has been proved
                guilty of the crime charged.


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 needed to say to protect himself, as a courtesy to a friend. But again, the Government

 need not disclose potential impeachment evidence before the defendant decides to

 plead guilty. Ruiz, 536 U.S. at 633. Therefore, Sears’s plea was not involuntary on this

 account, and so this factor does not favor allowing him to withdraw his plea.

 C.    Assistance of Counsel

       Sears’s current counsel was not his counsel at the time of the plea deal.

 Although Sears does not directly accuse his former counsel of ineffective assistance, he

 argues that Fourth Amendment grounds existed to challenge the three search warrants

 that issued during the investigation of this case, and therefore grounds existed to

 suppress the evidence gathered through those warrants. (ECF No. 139 ¶¶ 17–23; ECF

 No. 149 at 3.) Because Sears cannot now assert those Fourth Amendment arguments

 directly, Tollett, 411 U.S. at 267, the Court presumes that Sears means to say that his

 former counsel was ineffective in advising him to take a plea deal rather than to bring

 motions to suppress.

       “When a defendant’s challenge to a guilty plea is based on ineffective assistance

 of counsel, we apply the two-part test established in Strickland v. Washington, 466 U.S.

 668, 687 (1984).” Hamilton, 510 F.3d at 1216. That two-part test is as follows:

       1.     Objective Unreasonableness: his “counsel’s representation fell below an

              objective standard of reasonableness”; and

       2.     Prejudice: “there is a reasonable probability that, but for counsel’s

              unprofessional errors, the result of the proceeding would have been

              different. A reasonable probability is a probability sufficient to undermine

              confidence in the outcome.”

 Strickland, 466 U.S. at 688, 694 (1984). There is a “strong presumption” that an

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 attorney “render[s] adequate assistance and [makes] all significant decisions in the

 exercise of reasonable professional judgment.” Id. at 689–90.

        Moreover, to demonstrate prejudice in the context of a guilty plea, “the defendant

 must show that there is a reasonable probability that, but for counsel’s errors, he would

 not have pleaded guilty and would have insisted on going to trial.” Hill v. Lockhart, 474

 U.S. 52, 59 (1985). “Going to trial” can include attempts to avoid trial through moving to

 suppress evidence. Premo v. Moore, 562 U.S. 115, 118 (2011). But the standard for

 prejudice remains high: “A defendant who accepts a plea bargain on counsel’s advice

 does not necessarily suffer prejudice when his counsel fails to seek suppression of

 evidence, even if it would be reversible error for the court to admit that evidence.” Id.

 at 129.

        Sears does not cite, much less attempt to apply, these standards. In the interest

 of justice, however, the Court observes the following.

        Sears says that the first warrant issued in this case could have been challenged

 on the basis that Agent Funk is not a CPA. (ECF No. 139 ¶¶ 16–19, 22.) As already

 explained above (Part III.B.1), Agent Funk is a CPA, but she is restricted under Kansas

 law in the ways she may hold herself out as a CPA. So, had Sears moved to suppress

 on this basis, the argument would have been that full disclosure of Agent Funk’s CPA

 status was a material fact that should not have been withheld from the magistrate judge.

 See Franks, supra; Merton, supra. But Sears offers no reason to believe that it was

 material. Even if it was, this Court would be required to reevaluate the warrant affidavit

 as if Agent Funk’s full CPA status was disclosed and decide if probable cause still

 existed. See Taylor v. Meacham, 82 F.3d 1556, 1562 (10th Cir. 1996). Sears offers no



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 reason to believe that analysis would cut in his favor. Thus, at a minimum, he fails even

 to imply that the result of the proceeding would have been different had his former

 counsel moved to suppress on these grounds.

        Sears next argues that the first warrant could also have been challenged

 because it described FusionPharm as a Ponzi scheme, and also as a “pump and dump”

 scheme to artificially inflate FusionPharm’s stock price and then to sell at those

 artificially inflated prices, yet “the body of the affidavit fails to establish the truth of

 the[se] assertions.” (ECF No. 139 ¶ 20.) This is a pure lack-of-probable-cause

 argument—that the magistrate judge simply made the wrong decision. In terms of

 challenges to search warrants, this argument is probably the most difficult to win. See

 United States v. Nolan, 199 F.3d 1180, 1182 (10th Cir. 1999) (“Because of the strong

 preference for searches conducted pursuant to a warrant, the Supreme Court has

 instructed us to pay great deference to a magistrate judge’s determination of probable

 cause.” (internal quotation marks omitted)). Yet again, Sears offers no reason to

 believe this argument had a serious chance of succeeding, and so cannot show that the

 result of the proceeding would have been different if his counsel had brought this

 motion.

        Sears continues that he “has noted numerous misstatement[s] of fact in the

 search warrant affidavit which could have been the subject of a motion to suppress as

 well as a violation of the doctrine of Franks.” (ECF No. 139 ¶ 21.) But, having claimed

 as much, Sears immediately moves on to a new argument. This unsupported

 accusation does not show that the result of the proceeding would have been different if




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 his counsel had challenged the warrant on these grounds. 8

        As for the second warrant that issued in this case, Sears argues that it was infirm

 because Agent Funk again represented herself as a CPA, allegedly beyond what

 Kansas law permits her to do; and because the warrant was based on evidence

 gathered during execution of the purportedly unlawful first warrant, and so was the fruit

 of the poisonous tree. (Id. ¶ 22.) The Court’s previous analysis disposes of this claim.

        Finally, as for the third warrant, Sears declares that it was “based on a totally

 erroneous theory of the operation of the business and the sale of stock, [and] was [also]

 a general warrant.” (Id. ¶ 23.) But, as usual, Sears does not elaborate. And

 specifically concerning the general warrant argument, “[a] motion challenging a warrant

 as a ‘general warrant’ is difficult to win. As to whether warrant language is insufficiently

 particular, the relevant case law puts a heavy thumb on the Government’s side of the

 scale.” United States v. Holt, 2019 WL 193646, at *13 (D. Colo. Jan. 14, 2019) (citing

 cases). Sears’s bare contention that the third warrant was a general warrant, without

 more, is not enough to show a reasonable probability that such a motion would have

 succeeded.

        For all these reasons, Sears has not established that he received poor advice

 from his former lawyer to take the plea deal. The advice-of-counsel factor therefore

 does not tip in his favor. 9


        8
         Sears also nowhere says that the misstatements, whatever they were, flowed from
 some error that Agent Funk committed because she had “only” a CPA certificate.
        9
          To the extent Sears sees a lack of proper advice from counsel as bearing on the
 voluntariness factor, and not just the advice-of-counsel factor, see Hamilton, 510 F.3d at 1215
 (acknowledging that ineffective assistance of counsel can render a plea involuntary), the
 foregoing analysis equally demonstrates that the assistance Sears received from his former
 counsel was not so deficient (if it was deficient at all) as to be constitutionally ineffective, and so

                                                   17
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                                              * * *

        In sum, Sears has not carried his burden to demonstrate that any of the three

 crucial factors favors him, so the Court need not examine the remaining factors. Byrum,

 567 F.3d at 1265. Sears has not established “a fair and just reason for requesting the

 withdrawal” of his guilty plea. Fed. R. Crim. P. 11(d)(2)(B). The Court therefore will not

 permit him to withdraw the plea.

                                      IV. CONCLUSION

        For the reasons set forth above, Sears’s Motion to Withdraw Plea of Guilty (ECF

 No. 139) is DENIED.


        Dated this 22nd day of May, 2019.

                                                      BY THE COURT:



                                                      ______________________
                                                      William J. Martinez
                                                      United States District Judge




 his plea cannot be considered involuntary on that account.


                                               18
